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                          UNITED STATES BANKRUPTCY COURT

                         WESTERN DISTRICT OF PENNSYLVANIA



IN RE:                                                      Chapter 11

MAJESTIC HILLS, LLC                                         Case No. 20-21595

__________________________________________________________________________

      Notice of Formation Meeting For Official Committee of Unsecured Creditors
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The above-named debtor(s) filed a voluntary petition for relief under chapter 11 of the
Bankruptcy Code. Section 1102(b) of the Bankruptcy Code authorizes the United States Trustee
to appoint an Official Committee of Unsecured Creditors (“Committee”). The Committee
represents the interests, and acts on behalf, of all unsecured creditors. Members of the
Committee are generally selected from the list of the twenty largest unsecured creditors.

This is to notify creditors that the United States Trustee will hold a meeting to form a Committee
on June 17, 2020 at 10:00. The meeting will be held telephonically. If you wish to participate,
please call 1-877-612-9054 and use access code 4831906 to join the meeting. Also, if you have
not already done so, please submit a copy of your completed creditors’ questionnaire to Larry
Wahlquist at Larry.E.Wahlquist@usdoj.gov prior to the meeting.

A representative of the debtor is invited to attend the meeting to provide information regarding
the status of the case. If you do not wish to serve on the Committee, your presence at the
meeting is not required.

If you wish to be considered for Committee membership but are unable to attend, you should
immediately notify the Office of the United States Trustee. If you do not attend the meeting and
do not affirmatively indicate your willingness to serve, you will not be considered. If you send
an individual to represent you at the meeting, that representative must present your written proxy
authorizing him or her to act on your behalf.

The United States Trustee urges you to consider serving on the Committee. Under the
Bankruptcy Code, the Committee has the right to demand that the debtor consult with the
Committee before making major decisions or changes, to request the appointment of a trustee or
examiner, to participate in the formation of a plan of reorganization, and in some cases, to
propose its own plan of reorganization. If appropriate, the Committee may request that the
Bankruptcy Court convert a chapter 11 case to one under chapter 7, at which time the debtor’s
operations would cease and its assets would be liquidated. The Committee is authorized to select
and employ an attorney and other necessary professionals, subject to court approval. Fees of
professionals employed by the Committee may be paid from available assets, if any, of the
bankruptcy estate after court approval. Further, Committee members’ actual expenses may be
reimbursed from estate assets.
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The Committee performs a vital role in chapter 11 reorganizations, and we hope that you will
choose to participate.

                                                    ANDREW R. VARA
                                                    UNITED STATES TRUSTEE
                                                    Regions 3 and 9

Dated: June 8, 2020                                 By: /s/ Larry Wahlquist
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